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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION

Sharon Yvonne Ross,                      )           C.A. No.: 3:22-cv-03043-MGL-PJG
                                         )
                     Plaintiff,          )
                                         )
       vs.                               )           MOTION FOR RECONSIDERATION
                                         )
Billy R. Oswald; Oswald & Burnside, LLC; )
Billy R. Oswald Law Firm, LLC; and       )
Oswald Realty, Inc.,                     )
                                         )
                     Defendants.         )
                                         )
____________________________________)

       YOU WILL PLEASE TAKE NOTICE that James Edward Bradley hereby asks the Court

to reconsider its order of November 9, 2022, regarding disqualifying defense counsel.          In

particular, counsel requests additional time for Billy R. Oswald, Oswald & Burnside, LLC, Billy

R. Oswald Law Firm, LLC, and Oswald Realty, Inc. to procure a replacement lawyer.

       S. Jahue Moore who had previously appeared as counsel for Mr. Oswald was diagnosed

with cancer and is undergoing chemotherapy. In addition, Mr. Billy R. Oswald recently underwent

the amputation of his leg due to medical complications. As a result, a response was not made to

the previous motion to disqualify, and Mr. Oswald has not had a sufficient opportunity to procure

new counsel.

       With this in mind, James Edward Bradley asks on behalf of the Oswald entities and Mr.

Oswald himself for an additional twenty one days to obtain new counsel making the date for new

counsel’s appearance to be December 13, 2022.

       Counsel for the Plaintiff has consented to this request.

                                                     Respectfully submitted,




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                                         MOORE BRADLEY MYERS LAW FIRM, P.A.

                                         BY:s/James Edward Bradley _______
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West Columbia, South Carolina
November 14, 2022




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